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  The relief described hereinbelow is SO ORDERED.

  Signed April 03, 2019.


                                                      __________________________________
                                                                   Ronald B. King
                                                        Chief United States Bankruptcy Judge




                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

  IN RE:                                          §
                                                  §
  PETROLEUM TOWERS – COTTER, LLC,                 §    CASE NO. 18-50197-RBK
                                                  §
  DEBTOR                                          §    CHAPTER 11

            ORDER APPROVING SALE OF PROPERTY OF THE ESTATE
      FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES AND INTERESTS

         On April 2, 2019, came on to be considered the Motion to Sell Property of the Estate Free

  and Clear of Liens, Claims, Encumbrances and Interests (the “Sale Motion”) filed by Petroleum

  Towers – Cotter, LLC (the “Debtor” or “Seller” herein). The Court, having considered the Sale

  Motion, the record in the case, the evidence presented, and the statements and argument of counsel,

  finds that the Motion has merit and should be APPROVED as provided herein.

         In connection with this Order, the Court makes the following findings of fact and

  conclusions of law herein for the purposes of Bankruptcy Rule 7052, made applicable pursuant to

  Bankruptcy Rule 9014. To the extent any findings of facts are conclusions of law, they are
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  adopted as such. To the extent any conclusions of law are findings of fact, they are adopted as

  such.

                            Jurisdiction, Final Order and Statutory Predicates

           1.       The Court has jurisdiction over the Sale Motion pursuant to 28 U.S.C. §§ 157 and

  1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue of this

  proceeding and the Motion in this District is proper under 28 U.S.C. §§ 1408 and 1409.

           2.       The statutory predicates for the relief requested in the Motion are sections 105(a)

  and 363 of Title 11 of the United States Code (the “Bankruptcy Code”) and Rules 2002, 6004,

  9007 and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                             Property to be Conveyed

           3.       The Court finds that the property that is the subject of this Order is all of the

  Debtor’s right, title, and estate interest in and to all of the following:

          A.       The real property located at 8626 and 8700 Tesoro Dr., San Antonio, Texas 78217,
  which is commonly known as the “Petroleum Towers” and described on the attached Exhibit “A”,
  together with all structures, buildings, improvements and fixtures affixed or attached thereto and
  all easements and rights appurtenant thereto, including, without limitation: (i) all easements,
  privileges, tenements, hereditaments, appurtenances and rights belonging or in any way
  appurtenant to such real property; (ii) any strip or gore or any land lying in the bed of any street,
  road, alley or right-of-way, open or closed, adjacent to or abutting such real property; and (iii) any
  and all air rights, subsurface rights, development rights and water rights permitting to such real
  property (all of the foregoing being collectively referred to herein as the “Real Property”);

         B.      All leases, including associated amendments, with all persons (“Tenants”) leasing
  the Real Property or any portion thereof as of the Effective Date1 or entered into in accordance
  with the Agreement2 prior to Closing3 (collectively, the “Leases”), together with all security
  deposits held in connection with the Leases and all of Seller’s right, title and interest in and to all
  guarantees and other similar credit enhancements providing additional security for such Leases;

         C.      Seller’s interest, if any, in (i) any and all tangible personal property owned by Seller
  located on or used exclusively in connection with the Real Property, including, without limitation,

  1
    The “Effective Date” under the Agreement is February 22, 2019.
  2
    The “Agreement” is the Agreement for Purchase and Sale attached to the Sale Motion as Exhibit “B”.
  3
    The “Closing” is defined under paragraph 7.2 of the Agreement as the date that is thirty (30) days after the expiration
  of the Inspection Period (as the same may be extended in accordance with the terms of the Agreement).
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  sculptures, paintings and other artwork, equipment, furniture, tools and supplies located on the
  Real Property as of the Effective Date, but expressly excludes the Debtor’s bank accounts, whether
  deposit, checking, escrow, lockbox or other, with Broadway National Bank (collectively, the
  “Tangible Personal Property”); and (ii) any and all plans and specifications, architectural and
  engineering drawings and the common name of the Real Property (collectively, the “Intangible
  Personal Property,” and collectively with the Tangible Personal Property, the “Personal
  Property”);

          D.      All service contracts which Buyer expressly agrees to assume in writing prior to
  the expiration of Buyer’s Inspection Period, entered into by Seller relating to the operation of the
  Property as of the Effective Date or entered into by Seller in accordance with the Agreement prior
  to Closing, excluding Seller’s insurance and Seller’s asset and property management agreements,
  which will be terminated at Closing and not assumed by Buyer (collectively, the “Contracts”);
  provided, however, that Seller shall, at Closing, provide notices of termination with regard to
  certain Contracts, as provided in the Agreement; and

         E.      To the extent transferable, any and all building permits, certificates of occupancy
  and other certificates, permits, consents, authorizations, variances or waivers, dedications,
  subdivision maps, licenses and approvals from any governmental or quasi-governmental agency,
  department, board, commission, bureau or other entity or instrumentality relating to the Real
  Property (collectively, the “Permits”).

         (collectively, all of the foregoing shall hereinafter be referred to as “the Property”).

                                             Background

  A.     The Debtor’s Business

         4.      The Debtor is a Delaware single member limited liability company with its

  principal place of business and all of its assets located in San Antonio, Texas. The Debtor owns

  and operates two eight-story commercial real estate office buildings with surrounding parking

  facilities on 9.601 acres, located at 8626 and 8700 Tesoro Drive, San Antonio, Texas, which are

  commonly known as the “Petroleum Towers”.

         5.      This is a single asset real estate bankruptcy as defined by 11 U.S.C. §101(51B).

  Debtor’s primary assets are the Petroleum Towers properties.

         6.      The Debtor filed this case seeking to reorganize its debts under Chapter 11 of the

  Bankruptcy Code through a liquidating plan. Debtor has an essential need to sell the Petroleum
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  Towers properties, payoff the ad valorem property taxes and other valid liens encumbering the

  property, and to satisfy as much of the priority and general unsecured debt as possible. This case

  was filed with the goal of freeing up resources to allow the Debtor to make certain critical repairs

  to its most valuable assets, provide the Debtor time to sell the Petroleum Towers properties, pay

  off the Debtor’s creditors, and preserve any remaining equity for the heirs of the Cotter Estate.

  B.     Debtor’s Marketing/Sales Efforts and the Sale Procedures Motion.

         7.      On February 16, 2018, the Debtor filed an Application to Employ Cushman &

  Wakefield (“Cushman”) as Real Estate Broker for the Debtor-in-Possession (Doc. #21). An Order

  Approving the retention of Cushman as Broker for the Debtor was entered on March 13, 2018

  (Doc. #31) under the terms of the Listing Agreement for Sale attached as Exhibit “A-1” (Doc. #21-

  1) to the Application (the “Listing Agreement”).

         8.      Pursuant to the terms of the Listing Agreement, Cushman marketed the Property

  employing a thorough and time-tested sales process that commenced on January 15, 2018, and

  ended at the end of January, 2019. Specifically, Cushman took the following steps to market the

  Property:

         A.      On or about February 28, 2018, Cushman released a sales flyer to 6349 potential

  buyers in a database maintained by Cushman which contained contact information for buyers and

  investors who are known to be interested in properties of this type. The flyer contained information

  on all of the Houston and San Antonio area properties in the Cotter Estate portfolio, inviting

  potential buyers to seek additional information on all or a single Cotter property.

         B.      On the same date, Cushman also released an offering memorandum which

  contained 182 pages of detailed information on the Cotter Estate properties, including information

  on each individual property, the markets in which such properties were situated, and financial
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  information concerning the properties. The offering memorandum was set up to be accessed online

  by buyers who desired further information.

         C.      Cushman also established a Virtual Data Room (the “VDR”) containing the

  following types of documents that a potential buyer would find important prior to making a

  decision about bidding on the Property: copies of leases, operating statements, service agreements

  and capital expenditure histories. Any potential buyer could access the detailed information

  concerning a particular property by requesting access to the VDR and completing a confidentiality

  agreement. The Property was also listed on various commercial real estate marketing websites

  such as LoopNet.com and Costa Real Estate (Costare.com).

         D.      Cushman received a total of 120 requests for confidentiality agreements. A total of

  89 potential investors accessed information from the VDR concerning the Property.

         E.      Cushman completed at total of 23 tours of the Property with potential buyers who

  requested such a tour.

         F.      Cushman set a timeline for potential buyers to make bids on the Property. Buyers

  first presented initial offers which were due by the beginning of May, 2018. A total of 57 offers

  were made for multiple Cotter properties which included the Petroleum Towers properties. A total

  of 9 offers were made exclusively on the Petroleum Towers properties by potential buyers.

         G.      Subsequently, parties were invited to make “Best and Final Bids”. After receiving

  such updated bids, three potential buyers were selected to be interviewed by Cushman and a

  representative of the Debtor.

         H.      At the conclusion of the sales and marketing process, it was determined that the

  best and final bid was made by an entity known as Windmill Investments, LLC (hereinafter

  “Windmill” or the “Buyer”). According to its website, Windmill “is a private real estate investment
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  company specializing in the identification of undervalued or under-performing properties with

  strong growth potential . . . work[ing] with single-family homes, multifamily apartment complexes

  and commercial offices.” Windmill’s bid for the Property is $15,700,000.00 (the “Purchase

  Price”). The bid is not sufficient to pay all of the secured debt owed against the Petroleum Towers

  properties, however, in consultation with the Debtor’s Broker, it has been determined that the bid

  submitted by the Buyer is the highest or otherwise best offer for the Property. On February 4,

  2019, Cushman advised the Windmill’s representative of the winning bid.

          I.      Counsel for the Buyer and the Estate of James F. Cotter, Deceased, negotiated, and

  the parties executed, an Agreement for Purchase and Sale of the Property (the “Agreement”) on

  February 22, 2019, a true and correct copy of which is attached to the Sale Motion as Exhibit “B”.

                                            Notice of the Sale

          9.      Notice of the Sale Motion and the proposed entry of this Order was provided to all

  known parties in interest, including (i). all creditors and parties in interest listed on the Court’s

  master service list filed in this case; (ii). The Office of the United States Trustee; (iii). the Internal

  Revenue Service; (iv). all parties who are known to possess or assert a lien, claim, encumbrance

  or interest in or upon the Property (as defined herein) and their attorneys of record entering an

  appearance herein; and (v). all applicable United States, state or local regulatory or taxing

  authorities, recording offices or any governmental entity which have a reasonably known interest

  in the Property.

          10.     Notice of the sale of the Property (the “Sale”) and the hearing on the Sale Motion

  (the “Sale Hearing”) was reasonably calculated to provide all interested parties with timely and

  proper notice of the Sale and Sale Hearing.
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         11.      As evidenced by the certificates of service previously filed with the Court, proper,

  timely, adequate and sufficient notice of the Sale Hearing, Sale and the transactions contemplated

  thereby was provided in accordance with the orders previously entered by this Court, section

  105(a) and 363 of the Bankruptcy Code and Bankruptcy Rule 2002, 6006, 9007 and 9014. The

  notices described herein were good, sufficient and appropriate under the circumstances, and no

  other or further notice of the Sale Motion, Sale Hearing, or the Sale is or shall be required. Notice

  was adequate and sufficient under the circumstances of the case, and such notice complied with

  all applicable requirements of the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure,

  and the Local Rules of this Court.

         12.      The disclosures made by the Debtor concerning the Agreement, Sale Motion, Sale

  and designation of Buyer as the maker of the Highest of Otherwise Best Offer were good, complete

  and adequate.

         13.      A reasonable opportunity to object and be heard with respect to the Sale and the

  Sale Motion and the relief requested therein has been afforded to all interested persons and entities.

                                       Good Faith of Purchaser

         14.      The Agreement was negotiated, proposed and entered into by the Debtor and the

  Buyer without collusion, in good faith and from arms’-length bargaining positions.

         15.      The Buyer is not an “insider” or “affiliate” or the Debtor as those terms are defined

  in the Bankruptcy Code. Neither the Debtor nor the Buyer have engaged in any conduct that would

  cause or permit the Agreement to be avoided under section 363(n) of the Bankruptcy Code.

  Specifically, the Buyer has not acted in a collusive manner with any person, and the aggregate

  price paid by the Buyer for the Property was not controlled by any agreement among competing

  bidders for the Property.
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          16.     The Buyer is purchasing the Property in good faith and is a good faith buyer within

  the meaning of section 363(m) of the Bankruptcy Code. The Buyer proceeded in good faith in

  connection with all aspects of the Sale, including: (i) participating in good faith in the sales process;

  (ii) neither inducing nor causing the Debtor’s Chapter 11 filing; and (iii) disclosing all payments

  to be made by the Buyer in connection with the Sale. Accordingly, the Buyer is entitled to all of

  the protections afforded under section 363(m) of the Bankruptcy Code.

                                   Highest or Otherwise Best Offer

          17.     After being adequately exposed to the market for approximately one year, the bid

  submitted by the Buyer is the highest or otherwise best offer for the Property. The marketing

  process employed to date was an efficient process that was well designed to maximize the return

  from the sale of the Property for the benefit of the Debtor’s estate and its creditors. It has been

  publicly announced since February, 2018, that the Debtor desired to sell the Property, and the

  Debtor’s Broker marketed the Property thoroughly and diligently as described herein. As of the

  date of this Motion, no other person or entity has submitted an offer to purchase the Property for

  an amount that would allow the Debtor’s Estate to realize a greater economic value than the offer

  submitted by Buyer. Therefore, under the guidelines established by the Court, the Debtor’s

  representative’s determination that the Agreement constitutes the highest or otherwise best offer

  for the Property is a good, valid and sound exercise of the Debtor’s business judgment.

                                        No Fraudulent Transfer

          18.     The consideration provided by the Buyer pursuant to the Agreement, (i) is fair and

  reasonable, (ii) is the highest or otherwise best offer for the Property, (iii) will provide a greater

  recovery for the Debtor’s estate than would be provided by any other available alternative and (iv)

  constitutes reasonable equivalent value (as those terms are defined in each of the Uniform
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  Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act and section 548 of the Bankruptcy

  Code) and fair consideration under the Bankruptcy Code and under the laws of the United States,

  any state, territory, possession or the District of Columbia. The Debtor’s determination that the

  Agreement constitutes the highest or otherwise best offer for the Property constitutes a valid and

  sound exercise of the Debtor’s representative’s business judgment. Approval of the Sale Motion,

  Agreement, and the consummation of the transactions contemplated thereby, is in the best interests

  of the Debtor, its estate, creditors and other parties-in-interest including the equity owner(s) of the

  Debtor.

         19.     The Buyer is not a mere continuation of the Debtor or its estate and there is no

  continuity of enterprise between the Buyer and the Debtor. The Buyer is not holding itself out to

  the public as a continuation of the Debtor. The Buyer is not a successor of the Debtor or its estate

  and the Sale does not amount to a consolidation, merger, or de facto merger of Buyer and the

  Debtor.

                                          Validity of Transfer

         20.     The Debtor and its representative have (i) full corporate and partnership power and

  authority to execute and deliver the Agreement and all other documents contemplated thereby, (ii)

  all corporate and partnership authority necessary to consummate the transactions contemplated by

  the Agreement and (iii) taken all corporate and partnership action necessary to authorize and

  approve the Agreement and the consummation of the transactions contemplated thereby. The Sale

  has been duly and validly authorized by all necessary corporate and partnership actions. No

  consents or approvals, other than those expressly provided for in the Agreement, are required for

  the Debtor to consummate the Sale, Agreement or transaction contemplated thereby.
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          21.     The Agreement was not entered into for the purpose of hindering, delaying or

  defrauding creditors under the Bankruptcy Code or under the laws of the United States, any state,

  territory, possession or the District of Columbia. Neither the Debtor nor the Buyer are fraudulently

  entering into the transaction contemplated by the Agreement.

          22.     The Debtor has good and marketable title to the Property and is the lawful owner

  of the Property. Pursuant to section 363(f) of the Bankruptcy Code, the transfer of the Property to

  the Buyer will be, as of the closing of the Sale (the “Closing Date”), a legal, valid and effective

  transfer of the Property, which transfer vests or will vest the Buyer with all right, title, and interest

  of the Debtor to the Property free and clear of (i) all liens (as that term is defined in section 101(37)

  of the Bankruptcy Code), claims and encumbrances (including any right of first offer or refusal

  regarding or option to purchase any real property) relating to, accruing or arising any time prior to

  the Closing Date (collectively, the “Liens”) and (ii) all debts arising under, relating to or in

  connection with any act of the Debtor or claims (as that term is defined in section 101(5) of the

  Bankruptcy Code), liabilities, obligation, demands, guaranties, options, rights, contractual

  commitments, restrictions, interests and matters of any kind and nature, whether arising prior to or

  subsequent to the commencement of this case, and whether imposed by agreement, understanding,

  law, equity or otherwise. Notwithstanding the forgoing, the transfer of the Property by the Debtor

  to the Buyer shall not be construed to invalidate any Leases or Contracts which are to be assumed

  and assigned to the Buyer at closing. Further, nothing contained in this Order or the sale

  contemplated herein shall affect Broadway National Bank’s rights and remedies to seek, pursue,

  collect and or secure any deficiency or shortfall in payment of its debts, including interest, costs

  and attorney’s fees from any entity other than Buyer.
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                                       Section 363(f) Is Satisfied

         23.     The conditions of section 363(f) of the Bankruptcy Code have been or will be

  satisfied in full; therefore, the Debtor may sell the Property free and clear of any interest in the

  Property, other than the Leases or Contracts which are to be assumed and assigned to the Buyer at

  closing.

         24.     The Debtor may sell the Property free and clear of all Liens, Claims and other

  interests of any kind or nature whatsoever against the Debtor, its estate or the Property because, in

  each case, one or more of the standards set forth in section 363(f)(1)-(5) of the Bankruptcy Code

  has been satisfied. Those holders of Liens and Claims against the Debtor, its estate, or the

  Property, who did not object or who withdrew their objections to the Sale or the Sale Motion are

  deemed to have consented pursuant to section 363(f)(2) of the Bankruptcy Code.

         25.     Notwithstanding the foregoing, the Debtor has agreed that Presidio Title (the “Title

  Company”) shall conduct the closing of the sale, and in connection with such closing, shall pay

  from the proceeds of the Sale the following governmental entities the full amount of taxes or

  assessments due, pro-rated to the date of closing:

                 (A).    Bexar County.

         26.     Notwithstanding the foregoing, the Debtor has also agreed that the Title Company

  should pay to Broadway National Bank 100% of the remaining sales proceeds, after deducting the

  property taxes paid to Bexar County and the brokerage commissions and costs of sale attributable

  to the seller under the Agreement.

         27.     With respect to the entities holding Mechanic’s Liens against the Property, the

  entity which owns and controls the Debtor has consented to payoff such entities at the Closing of

  the sale referenced herein in exchange for fully executed releases of such Mechanic’s Liens.
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                          Compelling Circumstances for an Immediate Sale

         28.       Good and sufficient reasons for approval of the Agreement and the Sale have been

  articulated. The relief requested in the Sale Motion is in the best interests of the Debtor, its estate,

  its creditors and other parties-in-interest, including the equity owners of the Debtor. The Debtor

  has demonstrated (i) good, sufficient and sound business purposes and justifications for approving

  the Agreement, and (ii) compelling circumstances for the Sale outside of (a) the ordinary course

  of business, pursuant to section 363(b) of the Bankruptcy Code and (b) a plan of liquidation, in

  that, among other things, the immediate consummation of the Sale to the Purchaser is necessary

  and appropriate to maximize the value of the Debtor’s estate and the Sale will provide the means

  for the Debtor to maximize distributions to its creditors and minimize the deficiency liability of its

  equity owners.

         29.       Given all of the circumstances of this Chapter 11 case and the adequacy and fair

  value of the Purchase Price under the Agreement, the proposed Sale constitutes a reasonable and

  sound exercise of the Debtor’s representative’s business judgment and should be approved.

         30.       The Sale does not constitute a sub rosa chapter 11 plan for which approval has been

  sought without the protections that a disclosure statement would afford.             The Sale neither

  impermissibly restructures the rights of the Debtor’s creditors nor impermissibly dictates a

  liquidating plan of reorganization for the Debtor.

                                           General Provisions

         It is therefore, ORDERED, ADJUDGED and DECREED that the Sale Motion is in all

  respects GRANTED.

         It is further ORDERED, ADJUDGED and DECREED that, except as otherwise stated

  herein, the provisions of this Order are subject to the Closing Date having occurred in accordance
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  with the terms of the Agreement and this Order.

          It is further ORDERED, ADJUDGED and DECREED that any objections to the Sale

  Motion or the relief requested therein that have not been withdrawn, waived or settled by

  announcement to the Court during the Sale Hearing, the provisions of this Order, or by stipulation

  filed with the Court, including any and all reservations of rights included in such objections or

  otherwise (except any reservations of right and objections expressly preserved in this Order), are

  hereby denied and overruled with prejudice. Those parties who did not object or withdraw their

  objections to the Sale Motion are deemed to have consented pursuant to section 363(f)(2) of the

  Bankruptcy Code to the Sale of the Property in accordance with the terms of this Order.

          It is further ORDERED, ADJUDGED and DECREED that all terms of the Agreement

  are hereby approved, unless modified by this Order. It is further ORDERED, ADJUDGED and

  DECREED that, pursuant to sections 363(b) and (f) of the Bankruptcy Code, the Debtor is

  authorized and empowered to take any and all actions necessary or appropriate to (i) consummate

  to Sale pursuant to and in accordance with the terms and conditions of the Agreement, (ii) close

  the Sale as contemplated by the Agreement and this Order, and (iii) execute and deliver, perform

  under, consummate, implement and fully close the Agreement, together with all additional

  instruments and documents that may be reasonably necessary or desirable to implement the same

  and the Sale.

          It is further ORDERED, ADJUDGED and DECREED that this Order shall be binding

  in all respects upon (a) the Debtor, (b) its estate, (c) all creditors of, and holders of equity interests

  in, the Debtor, (d) all holders or Liens, Claims or other interests (whether known or unknown) in,

  against or on all or any portion of the Property, (e) the Buyer and all successors and assigns of the

  Buyer, (f) the Property and (g) any trustees, if any, subsequently appointed in the Debtor’s chapter
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  11 case or upon a conversion of this case to a case under chapter 7 of the Bankruptcy Code. This

  Order and the consideration contained in the Agreement shall inure to the benefit of the Debtor,

  its estate and creditors, the Buyer and the respective successors and assigns of each of the

  foregoing.

          It is further ORDERED, ADJUDGED and DECREED that nothing contained in this

  Order or the sale contemplated herein shall affect Broadway National Bank’s rights and remedies

  to seek, pursue, collect and or secure any deficiency or shortfall in payment of its debts, including

  interest, costs and attorney’s fees from any entity other than Buyer. Specifically, the automatic

  stay provided by 11 USC 362 terminates as to Broadway National Bank upon the Closing, to allow

  Broadway National Bank to apply, pay or setoff all of debtor’s accounts it holds against all debts

  it is due.

                                       Transfer of the Property

          It is further ORDERED, ADJUDGED and DECREED pursuant to sections 105(a),

  363(b), and 363(f) of the Bankruptcy Code, the Debtor is authorized to transfer the Property to the

  Buyer, and such transfer shall (a) constitute a legal, valid, binding and effective transfer of the

  Property, (b) vest the Buyer with title to the Property and (c) upon the Debtor’s receipt of the

  Purchase Price, be free and clear of all Liens, Claims and other interests of any kind or nature

  whatsoever, including but not limited to, successor or successor-in-interest liability and Claims.

  For the avoidance of doubt, Liens (including mechanics, materialmen and subcontractor Liens)

  and rights to receive payment of trust funds, Claims and other interests shall attach to the proceeds

  of the Sale in the order of their priority, with the same validity, force and effect that they now have

  as against the Property. Upon the closing of the Sale (the “Closing”), the Buyer shall take title to

  and possession of the Property.
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         It is further ORDERED, ADJUDGED and DECREED that at Closing, Presidio Title (the

  “Title Company”) shall be and is hereby authorized and directed to pay the full amount of taxes or

  assessments due and owing to the following governmental entities, pro-rated to the date of closing:

                 (A).    Bexar County.

         It is further ORDERED, ADJUDGED and DECREED that the ad valorem taxes for year

  2019 pertaining to the subject Property (included both real and personal property tax accounts)

  shall be prorated in accordance with the Agreement, and shall become the responsibility of the

  Buyer. The year 2019 ad valorem tax lien shall be retained against the subject Property (both real

  and personal) until said taxes are paid in full.

         It is further, ORDERED, ADJUDGED and DECREED that at Closing, the Title

  Company shall pay from the proceeds of the Sale the Brokerage commission and reimbursement

  of marketing expenses of Cushman & Wakefield and all other closing costs attributable to the

  Seller under the Agreement.

         It is further ORDERED, ADJUDGED and DECREED that, unless an order dismissing

  the Debtor’s case has been entered herein, the Title Company shall also pay the sum of

  $150,000.00 to the United States Trustee at the following address, which sum would be applied to

  the Debtor’s quarterly U.S. Trustee’s fees:

                 U.S. Trustee Payment Center
                 P.O. Box 530202
                 Atlanta, GA 30353-0202
                 Re: Petroleum Towers – Cotter, LLC, Acct. No. 425-18-50197

         It is further, ORDERED, ADJUDGED and DECREED that at Closing, the Title

  Company shall pay 100% of the remaining proceeds from the Sale to Broadway National Bank

  towards satisfaction of the indebtedness due and owing to Broadway National Bank.
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         It is further, ORDERED, ADJUDGED and DECREED that the following entities shall

  provide fully executed releases of mechanic’s and materialman’s liens upon payment in full of the

  sums shown in the affidavits or documents claiming such sums which have been filed against the

  Property: Trane US, Inc. and Texas Chiller Systems, LLC. In connection therewith, it is

  anticipated that these mechanic’s and materialman’s liens will be paid directly by the entity which

  controls the Debtor. Neither Trane US, Inc. nor Texas Chiller Systems, LLC will be required to

  execute and provide the releases unless and until they receive payment of the full amount claimed

  in their affidavits recorded in the real property records of Bexar County, Texas.

         It is further ORDERED, ADJUDGED and DECREED that all persons or entities that

  are in possession of some or all of the assets comprising the Property on the Closing Date are

  directed to surrender possession of the same to the Buyer or its assignee at the Closing. The

  provisions of this Order authorizing the sale of the Property free and clear of Liens, Claims and

  other interests of any kind or nature whatsoever shall be self-executing, and neither the Debtor nor

  the Buyer shall be required to execute or file releases, termination statements, assignments,

  consents or other instruments in order to effectuate, consummate and implement the provisions of

  this Order, other than the documents referenced in the Agreement.

         It is further ORDERED, ADJUDGED and DECREED that the Debtor and its

  representative are hereby authorized to take any and all actions necessary to consummate the

  Agreement, including any actions that otherwise would require further approval by shareholders

  or any of the Debtor’s boards of directors or boards of managers, as the case may be, without the

  need of obtaining such approvals.

         It is further ORDERED, ADJUDGED and DECREED that, after the Closing has

  occurred, a certified copy of this Order may be filed with the appropriate clerk and/or recorded
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  with the recorder to act to cancel any liens and other encumbrances of record.

         It is further ORDERED, ADJUDGED and DECREED that, after the Closing has

  occurred, or as soon as possible thereafter, each creditor is authorized and directed, and the Buyer

  is hereby authorized, on behalf of each of the Debtor’s creditors, to execute such documents and

  take all other actions as may be necessary to release Liens, Claims and other interests in or on the

  Property (except as otherwise provided in this Order), if any, as provided for herein, as such Liens,

  Claims and interests may have been recorded or may otherwise exist. Provided however, the

  foregoing is ordered as an abundance of caution only, and in no way limits the scope of this Order

  that all liens and encumbrances of any nature are released at closing as against the Property by the

  terms of this Order regardless of the execution of a separate release by any creditor or claimant.

         It is further ORDERED, ADJUDGED and DECREED that, after the Closing has

  occurred, the Debtor is authorized and empowered to cause to be filed with the secretary of state

  of any state or other applicable officials of any applicable governmental units any and all

  certificates, agreements, or amendments necessary or appropriate to effectuate the transactions

  contemplated by the Agreement, any related agreements and this Order, and all such other actions,

  filings or recordings as may be required under appropriate provisions of the applicable laws of all

  applicable governmental units or as any of the officers of the Debtor may determine are necessary

  or appropriate. The execution of any such document or the taking of any such action shall be, and

  hereby is, deemed conclusive evidence of the authority of such person to so act. Without limiting

  the generality of the foregoing, this Order shall constitute all approvals and consents, if any,

  required by the applicable business corporation, trust and other laws of the applicable

  governmental units, including for the change of the Debtor’s corporate name, with respect to the

  implementation and consummation of the Agreement, any related agreements and this Order, and
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  the transaction contemplated thereby and hereby.

         It is further ORDERED, ADJUDGED and DECREED that after the Closing has

  occurred, this Order shall be construed and shall constitute for any and all purposes a full and

  complete general assignment, conveyance and transfer of the Debtor’s interests in the Property.

  This Order is and shall be effective as a determination that, after the Closing has occurred, all

  Encumbrances and other interests of any kind or nature whatsoever existing as to the Property

  prior to the Closing Date, including without limitation any hypothecation, encumbrance, liability,

  Lien, Claim, Interest, security interest, security agreement, interest, mortgage, pledge, restriction,

  covenant, charge, license, preference, reclamation claim, cause of action, suit, contract, right of

  first refusal, offset and recoupment (except as specifically excepted in this Order) alter-ego,

  transferee or successor liability claims, tax (including federal, state and local tax), Governmental

  Order of any kind or nature, conditional sale or other title retention agreement or lease having

  substantially the same effect as any of the foregoing, assignment or deposit arrangement in the

  nature of a security device, whether secured, unsecured, choate or inchoate, filed or unfiled,

  scheduled or unscheduled, noticed or unnoticed, recorded or unrecorded, contingent or non-

  contingent, perfected or unperfected, allowed or disallowed, matured or unmatured, disputed or

  undisputed, material or immaterial, known or unknown (referred collectively, whether having

  arisen, been incurred or accrued prepetition or post-petition, whether imposed by agreement,

  understanding, law, equity or otherwise, as “Encumbrances”) pursuant to Section 363(f) of the

  Bankruptcy Code (other than Leases and Contracts specifically assumed and assigned at Closing),

  shall have been unconditionally released, discharged and terminated, and that the conveyances

  described herein have been effected. This Order is and shall be binding upon and govern the acts

  of all persons and entities, including, without limitation, all filing agents, filing officers, title
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  agents, title companies, recorders of mortgages, recorders of deeds, registrars of deeds,

  administrative agencies, governmental departments, secretaries of state, federal, state and local

  officials, and all other persons and entities who may be required by operation of law, the duties of

  their office, or contract, to accept, file, register or otherwise record or release any documents or

  instruments, or who may be required to report or insure any title or state of title in or to any Lease

  or Contract; and each of the foregoing persons and entities is hereby directed to accept for filing

  any and all of the documents and instruments necessary and appropriate to consummate the

  transactions contemplated by the Agreement.

         It is further ORDERED, ADJUDGED and DECREED that to the greatest extent

  available under applicable law, the Buyer shall be authorized, after the Closing has occurred, to

  operate under any (i) federal, state, or local governmental or regulatory license, permit,

  registration, and (ii) governmental authorization or approval of the Debtor with respect to the

  Property, and all such licenses, permits, registrations and governmental authorizations and

  approvals are deemed to have been, and hereby are, deemed to be transferred to the Buyer as of

  the Closing Date.

       It is further ORDERED, ADJUDGED and DECREED that to the extent permitted by

  section 525 of the Bankruptcy Code, no governmental unit may revoke or suspend any permit or

  license relating to the operation of the Property sold, transferred or conveyed to the Buyer on

  account of the filing or pendency of the Debtors’ chapter 11 case or the consummation of the Sale

  contemplated by the Agreement. Each and every federal, state, and local governmental agency or

  department is hereby authorized to accept any and all documents and instruments necessary and

  appropriate to consummate the Sale contemplated by the Agreement and this Order.
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       It is further ORDERED, ADJUDGED and DECREED that notwithstanding anything

  contained in this Order or the Agreement to the contrary, nothing in this Order or the Agreement

  releases Buyer from compliance with any applicable license, permit, registration, authorization, or

  approval of or with respect to a governmental unit as though such sale took place outside of

  bankruptcy. Buyer shall continue to honor and comply with the terms and requirements of any

  such applicable license, permit, registration, authorization or approval.

         It is further ORDERED, ADJUDGED and DECREED that notwithstanding anything

  contained in this Order or the Agreement to the contrary, nothing in this Order or the Agreement

  shall authorize the transfer or assignment of any license if such transfer or assignment is prohibited

  by applicable nonbankruptcy law.

                              Prohibition of Actions Against the Buyer

         It is further ORDERED, ADJUDGED and DECREED that, except as expressly provided

  for in this Order or the Agreement, the Buyer shall not have any liability or other obligation of the

  Debtor arising under or related to the Property, and the Buyer is not a “successor” to the Debtor or

  its estate by reason of any theory of law or equity, and the Buyer shall not assume, nor be deemed

  to assume, or in any way be responsible for any liability or obligation of any of the Debtor and/or

  its estate under any theory of law or equity. Without limiting the generality of the foregoing, and

  except as otherwise specifically provided herein or in the Agreement, the Buyer shall not be liable

  for any Claims against the Debtor or any of its respective predecessors or affiliates, and the Buyer

  shall have no successor, transferee or vicarious liabilities of any kind or character.

       It is further ORDERED, ADJUDGED and DECREED that, after the Closing has occurred,

  and except as otherwise expressly provided for in this Order or the Agreement, all persons and

  entities, including, but not limited to, all debt security holders, equity security holders,
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  governmental, tax and regulatory authorities, lenders, trade creditors, litigation claimants and other

  creditors, holding Liens, Claims or other interests of any kind or nature whatsoever against or in

  all or any portion of the Property (whether legal or equitable, secured or unsecured, matured or

  unmatured, contingent or non-contingent, liquidated or unliquidated, senior or subordinate),

  arising under or out of, in connection with, or in any way relating to the Debtor, the Property, the

  operation of the Debtor’s business prior to the Closing Date or the transfer of the Property to the

  Buyer, hereby are forever barred, estopped and permanently enjoined from asserting against the

  Buyer, and any of its affiliates, any of the foregoing’s successors, assigns, assets or properties or

  the Property, such persons’ or entities’ Liens, Claims or interests in and to the Property, including,

  without limitation, the following actions: (a) commencing or continuing in any manner any action

  or other proceeding against the Buyer, any of its affiliates or any of the foregoing’s successors,

  assigns, assets or properties; (b) enforcing, attaching, collecting or recovering in any manner any

  judgment, award, decree or order against the Buyer, any of its affiliates or any of the foregoing’s

  successors, assigns, assets or properties; (c) creating, perfecting or enforcing any Lien or other

  Claim against the Buyer, any of its affiliates or any of the foregoing’s successors, assigns, assets

  or properties; (d) asserting any setoff, right of subrogation or recoupment of any kind against any

  obligation due the Buyer, any of its affiliates or any of the foregoing’s successors or assigns (except

  for those counterparties to the Leases or Contracts expressly assumed under the Agreement); (e)

  commencing or continuing any action, in any manner or place, that does not comply or is

  inconsistent with the provisions of this Order, other orders of the Court or the Agreement or actions

  contemplated or taken in respect thereof; (f) revoking, terminating or failing or refusing to transfer

  or renew any license, permit or authorization to operate part or all of the Property or conduct any

  of the business operated with the Property.
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         It is further ORDERED, ADJUDGED and DECREED that all persons and entities are

  hereby forever prohibited and enjoined from taking any action that would adversely affect or

  interfere with the ability of the Debtor to sell and transfer the Property to the Buyer in accordance

  with the terms of the Agreement and this Order.

                         Fair and Reasonable Consideration; Good Faith

       It is further ORDERED, ADJUDGED and DECREED that after the Closing has occurred,

  the Buyer will have given substantial consideration under the Agreement for the benefit of the

  Debtor, its estate, its creditors, and its equity owners. The consideration given by the Buyer shall

  constitute valid and valuable consideration for the releases of any potential Claims and Liens

  pursuant to the Order, which releases shall be deemed to have been given in favor of the Buyer by

  all holders of Liens against, interests in or Claims against any of the Debtor or the Property. The

  consideration provided by the Buyer for the Property under the Agreement is fair and reasonable

  and accordingly the purchase may not be avoided under section 363(n) of the Bankruptcy Code.

         It is further, ORDERED, ADJUDGED and DECREED that the transactions

  contemplated by the Agreement are undertaken by the Buyer without collusion and in good faith,

  as that term is defined in section 363(m) of the Bankruptcy Code, and, accordingly, the reversal or

  modification on appeal of the authorization provided herein to consummate the Sale shall not affect

  the validity of the Sale, unless such authorization and such Sale are duly stayed pending appeal.

  Buyer is a good faith buyer within the meaning of section 363(m) of the Bankruptcy Code and, as

  such, is entitled to the full protections of section 363(m) of the Bankruptcy Code.
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                    Applicability of Sale Order upon Dismissal or Conversion

         It is further, ORDERED, ADJUDGED and DECREED that the provisions of this Order

  shall apply in the event this case is dismissed or converted to a different Chapter of Title 11, United

  States Code.

                                           Immediate Effect

         It is further, ORDERED, ADJUDGED and DECREED that this Order shall take effect

  immediately and shall not be stayed pursuant to Bankruptcy Rules 6004(h), 6006(d), 7062, 9014,

  Federal Rule of Civil Procedure 62(a) or otherwise. The Debtor and the Buyer are authorized to

  close the Sale immediately upon entry of this Order.

                                                  ###




  ORDER SUBMITTED BY:

  LAW OFFICES OF H. ANTHONY HERVOL
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  __/s/_H. Anthony Hervol________________
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    COUNSEL FOR DEBTOR
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